                Case 5:22-cv-00238-JWH-kk Document 108 Filed 11/03/23 Page 1 of 4 Page ID #:2317



                                     Ashley Mitchell
                          Turnbull, Holcomb & LeMoine, PC
                        945 East Paces Ferry Road NE Suite 2275
                                 Atlanta, Georgia 30326

                                                       UNITED STATES DISTRICT COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA
          WESLEY GIBSON; and ALEXIS GIBSON. individually and as
          surviving parents and as successor- in-interest to Decedent Wyatt          CASE NUMBER

                                                                   Plaintiff(s),                         S:22-cv-00238 JWH (KK.x)

                           V.

          WAL-MART, INC.; FLORA CLASSIQUE, INC.; MEREDITH                              APPLICATION OF NON-RESIDENT ATTORNEY
          CORPORATION; RAMESH FLOWERS PRIVATE LiMITED;                                       TO APPEAR IN A SPECIFIC CASE·
                                                                Defendant(s),                       PROHACVICE
         INSTRUCTIONS FOR APPLICANTS
         (I) The attorney seeki,ig to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
         Section II, and have the designated Local Counsel sign in Section Ill. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
         supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
         days) from every state bar to which lie or she is admitted; failure to do so will be grounds for denying the Application . Scan the
         completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
     (2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
         Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order
         (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
         card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time offiling will be
         grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
         attorneys for the United States are also exempt from the requirement ofgpp_lJJ.,ygj,r pro hac vice status_, $!!_~_L,,,R. 8.3.:2.1.4J.A_c.op)!..af.th~e- - --
- -- - -r--~ORDER 1n Wora or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
     SECTION I- INFORMATION
          Mitchell, Ashley G.
          Applicant's Name (Last Name, First Name & Middle Initial)                                         check here iffederal government attorney 0
          Turnbull, Holcomb & LeMoine, P.C.
          Firm/Agency Name
          945 East Paces Ferry Road NE                                             404-793-2566                          404-348-4260
          Suite 2275                                                               Telephone Number                      Fax Number
          Street Address
          Atlanta, GA 30326                                                                           amitchell@turnbullfirm.com
          City, State, Zip Code                                                                              E-mail Address

         I have been retained to represent the following parties:
          Wesley Gibson                                                            0 Plaintiff(s) 0 Defendant(s) 0 Other:
          Alexis Gibson, individually and as surviving parents et al.              0 Plaintiff(s) 0 Defenda11t(s) 0 Other: - --- - - ---
          Name(s) of Party(ies) Represented

         List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
         her membership. Use Section IV if more room is needed, or to provide additional information.

                         Name of Court                             Date o(Admissio11          Active Member in Good Standint? (i(not, please explain)
          State Bar of Georgia                                       11/12/2010              Yes
          USDC Northern District of Georgia                            1/1/2010              Yes
          USDC Middle District of Georgia                              9/8/2011             Yes

         G-64 (09/20)               APPLICA'ftON OF NON-RESIDENT ATTORNEY TO APPEAR lN A SPECIFIC CASE PRO HAC VJCE                               Page I of3
        Case 5:22-cv-00238-JWH-kk Document 108 Filed 11/03/23 Page 2 of 4 Page ID #:2318


List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed);
        Case Number                                     Title o{Action                           Date ofAoplication          Granted I Denied?




If any pro liac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attomeysnmst·be·registeredfartheC:aurt s··erectnmtcfilingsystem··w·pnrcm:-epnrlrac•vir-e·tnthirC-cmn····-sutnnrr~ion
                                                    1



of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

            SECTION II • CERTIFICATION

            I declare under penalty of perjury that:

            (1) All of the above information is true and correct.
            (2) I am not a resident of the State of California. I am not regular1y employed in, or engaged in
                substantial business, professional, or other activities in the State of California.
            (3) I am not currently suspended from and have never been disbarred from practice in any court.
            (4) I am familiar with the Court's Local Civil and Criminal Rules. the Federal Rules of Civil and
                Criminal Procedure, and the Federal Rules of Evidence.
            (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                of this Court and maintains an office in the Central District of California for the practice of law, in
                which the attorney is physically present on a regular basis to conduct business, as local counsel
                pursuant to Local Rule 83-2.1.3.4.

                Dated   \   of~, dCQo                                    Ashley Mitchell




G -64 (09120)                APPLICATION OF NON-RESIDENT ATIORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 2 o f J
      Case 5:22-cv-00238-JWH-kk Document 108 Filed 11/03/23 Page 3 of 4 Page ID #:2319



SECTION HI - DESIGNATION OF LOCAL COUNSH
 Kiesel, Paul R.
 Designee's Name (Last Name, First Name & Middle Initial)
 Kiesel Law, LLP
 Firm/Agency Name
 8648 Wilshire Blvd                                               310-854-4444                               310-854-0812
                                                                   Telephone Number                        Fax Number
 Street Address                                                   kiesel@kiesel.law
 Beverly Hills, CA 902 I I                                        Email Address
 City, State, Zip Code                                             119854
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated 11-3-23                                         Paul R. Kiesel
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




G-64 (09/20)              APPUCATION OF NON-RESIDENT ATIORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page 3 o( J
Case 5:22-cv-00238-JWH-kk Document 108 Filed 11/03/23 Page 4 of 4 Page ID #:2320




  I          State Bar
             of Georgia
                                                                     Lawyers Serving the Public and the Justice System
 Ms. Ashley Gowder Mitchell
 Turnbull Holcomb & LeMoine PC
 945 E Paces Ferry Road NE Suite 2275
 Atlanta, GA 30326
 UNITED STATES




 CURRENT STATUS:                          Active Member-Good Standing
 DATE OF ADMISSION:                       11/12/2010
 BAR NUMBER:                              475898
 TODAY'S DATE:                            10/26/2023
 The prerequisites for practicing law in the State of Georgia are as follows:

      § Certified by the Office of Bar Admissions, either by Exam, or on Motion (Reciprocity).
      § Sworn in to the Superior Court in Georgia, highest court required to practice law in Georgia.
      § Enrolled with the State Bar of Georgia, arm of the Supreme Court of Georgia.




 This member is currently in “good standing” as termed and defined by State Bar Rule 1-204. The member is current
 in license fees and is not suspended or disbarred as of the date of this letter.


                                                STATE BAR OF GEORGIA


                                             Official Representative of the State Bar of Georgia




        HEADQUARTERS                                 COASTAL GEORGIA OFFICE                          SOUTH GEORGIA OFFICE
  104 Marietta St. NW, Suite 100                             18 E. Bay St.                              244 E. 2nd St. (31794)
     Atlanta, GA 30303-2743                            Savannah, GA 3 1401-99 10                             P.O. Box 1390
  404-527 -8700 • 800-334-6865                       9 12-239-9910 • 877-239-9910                       Tifton, GA 31793-1390
        Fax 404-527-8717                                   Fax 912-239-9970                        229-387-0446 • 800-330-0446
          www.gabar.org                                                                                   Fax 229-382-7435
